           Case 1:22-cv-00175-KCD Document 7 Filed 03/08/22 Page 1 of 6




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                             NOT FOR PUBLICATION
______________________________________
                                       )
ISAIAH J. JONES,                       )
                                       )
                  Plaintiff,           )       No. 22-175 C
                                       )
             v.                        )       Filed: March 8, 2022
                                       )
THE UNITED STATES,                     )
                                       )
                  Defendant.           )
______________________________________ )

                           MEMORANDUM OPINION AND ORDER

         Pro se Plaintiff Isaiah Jones filed this action against the United States on February 15, 2022.

See Pl.’s Compl., ECF No. 1. On the same date, he sought leave to proceed in forma pauperis

pursuant to 28 U.S.C. § 1915. See Appl. to Proceed In Forma Pauperis (“IFP application”), ECF

No. 2.

         Though difficult to discern, Plaintiff’s Complaint contains a litany of allegations against

hospitals, doctors, nurses, and local law enforcement officials pertaining to Plaintiff’s history of

involuntary admissions to hospitals in or around Chicago, Illinois.            Plaintiff claims that a

“discriminating system [of] past false allegations” arising from “unlawful police stops[] and hold

ups,” ECF No. 1 at 7, has resulted in at least four involuntary/judicial admissions for psychological

evaluation from 2019 through 2021, id. at 8. Among other things, he claims emergency room

doctors and nurses working for Advocate Health Care system wrongly signed-off on and noted

false allegations from records and assessment documents, falsified medical records and certificates

of medical necessity, shared his medical information in violation of his privacy rights, improperly

prescribed medications (including Haldol) with harmful intent, wrongly diagnosed him, provided
          Case 1:22-cv-00175-KCD Document 7 Filed 03/08/22 Page 2 of 6




improper treatment causing injury to prior injuries, denied him access to his medical records, and

billed for services not rendered and goods not provided. See, e.g., id. at 7–9. Other allegations

are harder to interpret, including those directed at various ethnic groups and “low budget cartel

library workers” who allegedly overcharged and verbally harassed him. Id. at 2; see, e.g., id. at 3

(alleging he was “taunted by [the] [l]aw enforcement Italian mo[b] and Mexican nurse’s cartels

family members and their polluted husbands”); id. at 4 (describing allegations involving “‘middle

eastern and Indians who are linked with Mexican majority store workers claiming to be Islamic’”).

       Plaintiff invokes several legal authorities in support of his claim, including the patient bill

of rights under the Mental Health Systems Act, Pub. L. 96-398, 94 Stat. 1564, 1598 (1980)

(codified at 42 U.S.C. § 9501); the “Patient Protection Act;” the Health Insurance Portability and

Accountability Act (HIPAA), Pub. L. 104-191, 110 Stat. 1936 (Aug. 21, 1996); 42 U.S.C. § 1983;

and the Fourth and Fifth Amendments of the U.S. Constitution. Id. at 1, 4, 5–6, 9. Plaintiff

requests relief from “Advocate Medical Group” in the amount of $2 million for violation of his

privacy rights, medical bills, and lost income, as well as relief from hospital bills apparently

stemming from his medical and mental health treatment. Id. at 12.

       Having reviewed the Complaint, the Court finds that Plaintiff’s IFP application should be

denied and his case dismissed sua sponte on the grounds that it is both frivolous and fails to

demonstrate subject-matter jurisdiction. Actions filed in forma pauperis are subject to a frivolity

review by the Court. See 28 U.S.C. § 1915(e)(2)(B)(i). Litigants “whose filing fees and court

costs are assumed by the public, unlike a paying litigant, lack[] an economic incentive to refrain

from filing frivolous, malicious, or repetitive lawsuits.” Neitzke v. Williams, 490 U.S. 319, 324

(1989). A complaint is frivolous if it is without an arguable basis either in law or fact. See id. at

325; Double Lion Uchet Express Tr. v. United States, 149 Fed. Cl. 415, 422 (2020). Such



                                                 2
           Case 1:22-cv-00175-KCD Document 7 Filed 03/08/22 Page 3 of 6




complaints include those “based on an indisputably meritless legal theory,” Neitzke, 490 U.S. at

327, as well as “those in which the factual allegations asserted are so unbelievable that there is no

need for an evidentiary hearing to determine their veracity,” Taylor v. United States, 568 F. App’x

890, 891 (Fed. Cir. 2014); see Perales v. United States, 133 Fed. Cl. 417, 418 (2017).

        The Court of Federal Claims regularly dismisses cases as frivolous when they are based on

fantastic or delusional scenarios. See Manning v. United States, 123 Fed. Cl. 679, 684–85 (2015)

(plaintiff sought $1 trillion in damages for the alleged theft of his interstellar starship); Resendez

v. United States, 96 Fed. Cl. 283, 287 (2010) (inmate claimed his incarceration was the result of a

conspiracy between the state of Texas and United States law enforcement agents); McCullough v.

United States, 76 Fed. Cl. 1, 5 (2006) (plaintiff claimed the government implanted a transmitting

device into his brain, injected chemical substances into his body, and exposed him to lethal aerosol

fumes that produced a mind-altering effect); Mendes v. United States, 88 Fed. Cl. 759, 760 (2009)

(plaintiff claimed the CIA and FBI used “zealot, fanatical women” with laser beam technology to

commit various civil rights offenses).

        Here, Plaintiff’s case should likewise be dismissed as frivolous because his allegations defy

belief and lack legal support. For example, Plaintiff alleges that doctors “wrongfully restrained

and enforced . . . a German made foreign substance injection” into his body, which caused “mortal

affects acting as [an] animal tranquilizer.” ECF No. 1 at 3. Plaintiff accuses various “cartels” of

ethnic groups of tampering with his medication and “blacklisting” his cell phone number. Id. at

4. And Plaintiff claims that multiple hospitals engaged in a conspiracy to falsify his medical

records and inflate his medical bills. Id. at 1. As in other cases filed in this court, supra, Plaintiff’s

disjointed allegations are wholly unbelievable and should be dismissed as frivolous. This finding

is bolstered by the lack of legal support for Plaintiff’s claims. Indeed, another judge of this court



                                                    3
           Case 1:22-cv-00175-KCD Document 7 Filed 03/08/22 Page 4 of 6




recently dismissed a complaint filed by Plaintiff based on very similar factual allegations and legal

grounds, finding that Plaintiff’s “vague references to violations of constitutional provisions, statutes,

and regulations [failed to] state any nonfrivolous claims.” Jones v. United States, No. 22-108C, 2022

WL 598661, at *5 (Fed. Cl. Feb. 28, 2022). While the justice system works best when litigants

are given the opportunity to be heard, Plaintiff’s claims meet the standard of “clearly baseless” on

their face and should be dismissed at the outset. Denton v. Hernandez, 504 U.S. 25, 32 (1992)

(citing Neitzke, 490 U.S. at 327).

        Dismissal is also warranted on a second, independent ground—i.e., lack of subject-matter

jurisdiction. The Court is empowered to evaluate subject-matter jurisdiction sua sponte and

dismiss a case “at any time” if it finds that it is lacking. See RCFC 12(h)(3). Although the Court

construes Plaintiff’s allegations liberally, considering his pro se status, he nonetheless bears the

burden of establishing subject-matter jurisdiction. See Estes Express Lines v. United States, 739

F.3d 689, 692 (Fed. Cir. 2014); Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748

(Fed. Cir. 1988). He has not met that burden here.

        The Court of Federal Claims is a court of limited jurisdiction. Massie v. United States, 226

F.3d 1318, 1321 (Fed. Cir. 2000). Derived from the Tucker Act, the Court’s jurisdiction extends

over “any claim against the United States founded either upon the Constitution, or any Act of

Congress or any regulation of an executive department, or upon any express or implied contract

with the United States, or for liquidated or unliquidated damages in cases not sounding in tort.”

28 U.S.C. § 1491(a)(1). The Tucker Act, however, is “only a jurisdictional statute; it does not

create any substantive right enforceable against the United States for money damages.” United

States v. Testan, 424 U.S. 392, 398 (1976). Therefore, the substantive right must appear in another

source of law, such as a “money-mandating constitutional provision, statute or regulation that has



                                                   4
          Case 1:22-cv-00175-KCD Document 7 Filed 03/08/22 Page 5 of 6




been violated, or an express or implied contract with the United States.” Loveladies Harbor, Inc.

v. United States, 27 F.3d 1545, 1554 (Fed. Cir. 1994) (en banc).

       In the Court of Federal Claims, “the only proper defendant . . . is the United States.”

Stephenson v. United States, 58 Fed. Cl. 186, 191 (2003) (citing United States v. Sherwood, 312

U.S. 584, 588 (1941)); see Winston v. United States, 465 F. App’x 960, 961 (Fed. Cir. 2012). In

other words, “if the relief sought is against others than the United States, the suit as to them must

be ignored as beyond the jurisdiction of the court.” Sherwood, 312 U.S. at 588. This limit on the

Court’s jurisdiction excludes claims where a plaintiff alleges harm by a private individual or entity.

See Edelmann v. United States, 76 Fed. Cl. 376, 380 (2007); Mora v. United States, 118 Fed. Cl.

713, 716 (2014); Potter v. United States, 124 Fed. Cl. 469, 474–75 (2015). It likewise excludes

“claims alleged against states, localities, state and local government entities, or state and local

government officials and employees.” Harvey v. United States, 149 Fed. Cl. 751, 765 (2020)

(quoting Weir v. United States, 141 Fed. Cl. 169, 177 (2018) (internal quotations omitted)), aff’d,

845 F. App’x 923 (Fed. Cir. 2021). Thus, even where the United States is the named defendant, a

complaint must be dismissed for lack of subject-matter jurisdiction where the allegations do not

involve the United States. See Fullard v. United States, 78 Fed. Cl. 294, 301 (2007) (“In sum,

because plaintiff’s Complaint alleges no substantive claims against the United States, the court

does not have jurisdiction to rule on the merits of plaintiff’s claims.”); Nat’l City Bank v. United

States, 143 Ct. Cl. 154, 164 (1958) (“It is well established that the jurisdiction of this court extends

only to claims against the United States, and obviously a controversy between private parties could

not be entertained.”).

       Here, Plaintiff names the United States as the defendant in this case (while also adding

“Advocate south suburban hospital/Advocate Illinois Masonic Medical Center” to the caption),



                                                   5
           Case 1:22-cv-00175-KCD Document 7 Filed 03/08/22 Page 6 of 6




ECF No. 1 at 1, but the harm he complains of was allegedly caused by the actions of private

healthcare entities and providers, as well as local law enforcement officials. See, e.g., id. at 1, 3,

8 (identifying various hospitals in the Advocate Health Care system, the names of specific doctors

who provided treatment, and several city police departments including Country Club Hills Police

Department). None of the claims involve actions by the United States. Nor does Plaintiff request

relief from the United States. See id. at 12 (describing his request for monetary damages from

Advocate Medical Group). The fact that Plaintiff listed the United States as a defendant and cited

several sources of federal law in his Complaint is insufficient to demonstrate the Court’s

subject-matter jurisdiction. See May Co. v. United States, 38 Fed. Cl. 414, 416 (1997) (dismissing

landowner’s complaint related to local river project, which captioned the United States as the sole

defendant, because all substantive allegations were against state and private entities).1

       For these reasons, Plaintiff’s Application to Proceed In Forma Pauperis (ECF No. 2) is

DENIED and Plaintiff’s Complaint (ECF No. 1) is DISMISSED. The Clerk is directed to enter

judgment accordingly.

       SO ORDERED.


Dated: March 8, 2022                                          /s/ Kathryn C. Davis
                                                              KATHRYN C. DAVIS
                                                              Judge




       1
          Even assuming some allegations in the Complaint could be construed as involving the
United States, for the reasons persuasively explained in the decision dismissing Plaintiff’s
concurrent suit, the Complaint does not identify a money-mandating source of substantive rights
that would provide a basis for a claim within this Court’s jurisdiction. See Jones, 2022 WL
598661, at *2–4 (dismissing claims under § 9501, HIPAA, and the Fourth and Fifth Amendments
for lack of jurisdiction).
                                                  6
